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12
13                            UNITED STATES DISTRICT COURT
14                         NORTHERN DISTRICT OF CALIFORNIA
15 KYLE DEAN BLOOM, et al.,                        Case No. 4:21-cv-04855-JST
   individually, and on behalf of all others
16 similarly situated,                             Hon. John S. Tigar
17                     Plaintiffs,                 JOINT STIPULATION AND
                                                   [PROPOSED] ORDER FOR
18              v.                                 DISMISSAL AND DISMISSING CASE
19 FEDERAL EXPRESS
   CORPORATION, a Delaware
20 corporation; and DOES 1-25, inclusive,
21                     Defendant.
22
            IT IS HEREBY STIPULATED by Plaintiffs Kyle Dean Bloom, Timothy
23
     Bernardin, Manuel Hernandez, Bryant Harris, Christina Walker, Eddie Jackson, Kenneth
24
     Geiss, Tristan Jones, Albert Garcia, Dechelle Webb, and Ryan Alexander Ojeil
25
     (“Plaintiffs”) and Defendant Federal Express Corporation (“Defendant”), collectively
26
     (the “Parties”), by and through their respective undersigned counsel, that the above-
27
     captioned action be and hereby is dismissed with prejudice with respect to all of
28
                                                 -1-
                                     Stipulation of Dismissal
           Case 4:21-cv-04855-JST Document 39 Filed 06/24/22 Page 2 of 3


 1   Plaintiffs’ individual claims brought on their own behalf against Defendant, including
 2   their California Labor Code Private Attorneys General Act (“PAGA”) claim, pursuant to
 3   Federal Rule of Civil Procedure 41(a)(1)(A)(ii). This dismissal is intended to be effective
 4   even “without a court order.” Fed. R. Civ. P. 41(a)(1)(A).
 5         IT IS FURTHER STIPULATED that the claims brought against Defendant by
 6   Plaintiffs on behalf of putative, uncertified class action members be and hereby are
 7   dismissed without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
 8   Under Rule 23 of the Federal Rules of Civil Procedure, Court approval of the dismissal of
 9   the putative class allegations is not required because it is not a voluntary dismissal of “the
10   claims, issues, or defenses of a certified class.” Fed. R. Civ. P. 23(e); see also Advisory
11   Committee Notes on 2003 Amendments to Rule 23, Subdivision (e), Paragraph (1) (“The
12   new rule requires [court] approval only if the claims, issues, or defenses of a certified
13   class are resolved by . . . voluntary dismissal. . . .” This case has not been certified. The
14   dismissal of putative class claims is without prejudice and does not resolve any class
15   claims, issues, or defenses.
16         IT IS FURTHER STIPULATED that the claims brought against Defendant by
17   Plaintiffs in a representative capacity on behalf of others pursuant to PAGA be and
18   hereby are dismissed without prejudice pursuant to Federal Rule of Civil Procedure
19   41(a)(1)(A)(ii).
20         Pursuant to the terms of the Settlement Agreement entered into between the
21   parties, each party is to bear its own costs and attorney’s fees.
22
23         IT IS SO STIPULATED.
24
     Dated:       June 16, 2022                  WHITEHEAD EMPLOYMENT LAW
25
26                                            By: ______________________________
                                                   Meghan N. Higday, Esq.
27                                                 Jacob N. Whitehead, Esq.
28                                                Attorneys for Plaintiffs
                                                 -2-
                                      Stipulation of Dismissal
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 1
     Dated: June 16, 2022                        FEDERAL EXPRESS CORPORATION
 2
                                             By: ___/s/ Thomas J. Moran____________
 3
                                                 Thomas J. Moran, Esq.
 4                                               Attorney for Defendant
                                                 FEDERAL EXPRESS CORPORATION
 5
 6
                                      (PROPOSED) ORDER
 7
           Based on the Stipulation for Dismissal entered into by Plaintiffs and Defendant,
 8
     IT IS HEREBY ORDERED AS FOLLOWS:
 9
           1.     Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the above-
10
     captioned action is hereby DISMISSED with prejudice with respect to all of the
11
     individual claims brought by Plaintiffs on their own behalf, including their California
12
     Labor Code Private Attorneys General Act (“PAGA”) claim; and
13
            2.    Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the claims
14
     brought by Plaintiffs in a representative capacity on behalf of others pursuant to PAGA
15
     in the above-captioned action are hereby DISMISSED without prejudice and without
16
     notice to any individual;
17
            3.    Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the claims
18
     asserted by Plaintiffs in the above-captioned action on behalf of putative, uncertified
19
     class action members are hereby DISMISSED without prejudice and without notice to
20
     any putative class members; and
21
            4.    Pursuant to the terms of the settlement agreement entered into between the
22
     parties, each party is to bear its own costs and attorney’s fees.
23
24          IT IS SO ORDERED.
25
26   Dated: June 24, 2022
27                                              UNITED STATES DISTRICT JUDGE
                                                HONORABLE JON S. TIGAR
28
                                                 -3-
                                      Stipulation of Dismissal
